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7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA      ) NO. 2:05-cr-0052-MCE
                                   )
12                  Plaintiff,     )
                                   ) STIPULATION AND ORDER
13             v.                  ) CONTINUING MOTIONS SCHEDULE
                                   )
14   ROBERT A. PORTER, Jr.,        )
     MARC A. HILL, and             ) Date: June 6, 2006
15   ORION S. PORTER,              ) Time: 1:30 p.m.
                    Defendants.    ) Hon. Morrison C. England, Jr.
16
     _____________________________ )
17
18         It is hereby stipulated and agreed, by and between the
19   defendants, by and through their counsel, and the United States,
20   through its counsel, Assistant United States Attorney, to vacate
21   the motions hearing date of May 30, 2006, and to set a new
22   motions hearing date of June 6, 2006, at 1:30 p.m.            This
23   specially-set hearing time was approved by the Court's deputy
24   clerk.
25         The government is in the process of preparing its
26   oppositions to the motions but has found that additional factual
27   investigation is necessary to complete the responses.
28   ///

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1         The parties have agreed to the following schedule:
2                               Current Date      New Date
3    Gov't oppositions due:     5/16/06           5/23/06
4    Def's replies due          5/23/06           5/30/06
5    Motions Hearing            5/30/06           6/06/06 at 1:30 p.m.
6         Time would be excluded under the Speedy Trial Act for the
7    pendency of motions.
8         All counsel have agreed to the proposed schedule and the
9    courtroom deputy has indicated that the Court is available.           All
10   counsel have granted permission for the undersigned to sign on
11   their behalf.
12   DATED: May 16, 2006                     Respectfully submitted,
13                                           McGREGOR W. SCOTT
                                             United States Attorney
14
                                             /s/ Anne Pings
15                                           Assistant U.S. Attorney
16                                           /s/ Candace A. Fry _____
                                             Counsel for Robert Porter
17                                           Signed with permission
18
                                             /s/ Scott L. Tedmon
19                                           Counsel for Marc Hill
                                             Signed with permission
20
21                                           /s/ Robert Holley
                                             Counsel for Orion Porter
22                                           Signed with permission
23        IT IS SO ORDERED.
24   Dated: May 19, 2006
25
26
                                      _____________________________
27
                                      MORRISON C. ENGLAND, JR
28                                    UNITED STATES DISTRICT JUDGE



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